4:05-cr-03032-RGK-DLP            Doc # 42      Filed: 05/03/05      Page 1 of 1 - Page ID # 61



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )       4:05CR3032
                           Plaintiff,          )
                                               )
                               vs.             )
                                               )
RICARDO PERALES,                               )       ORDER
SILVANO MICHEL,                                )
JESSICA YVONNE SERVIN,                         )
                                               )
                           Defendants.         )



      This matter comes before the Court on the plaintiff’s Motion for Extension of Time, filing
40. The Court, being duly advised in the premises, finds that the Motion should be granted.

       IT IS THEREFORE ORDERED,

         The plaintiff is given until May 9, 2005 to file its brief opposing the motions to suppress
filed by the defendants.

       Dated this 3rd day of May, 2005.

                                               BY THE COURT

                                               s/  David L. Piester
                                               David L. Piester
                                               United States Magistrate Judge
